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               8                                       UNITED STATES DISTRICT COURT

               9                                       EASTERN DISTRICT OF CALIFORNIA

             10                                               FRESNO DIVISION

             11

             12        DENNIS J. NASRAWI, MICHAEL R.                        Case No. 1:09-cv-02061-OWW-GSA
                       O'NEAL, and RHONDA BIESEMEIR,
             13                                                             ORDER GRANTING DEFENDANTS’
                                         Plaintiff,                         EX PARTE APPLICATION FOR
             14                                                             EXTENSION OF TIME TO FILE
                               v.                                           RESPONSIVE PLEADING
             15
                       BUCK CONSULTANTS, LLC and HAROLD                     [L.R. 6-144(c)]
             16        LOEB,
                                                                            Judge: Hon. Gary S. Austin
             17                          Defendants.
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             19                The Ex Parte Application of Defendants Buck Consultants, LLC and Harold Loeb for an

             20        extension of time to file a responsive pleading in the above-captioned action came on regularly

             21        before this Court pursuant to Local Rule 6-144(c). Good cause appearing, the application is

             22        GRANTED. Defendants’ time to file a responsive pleading to Plaintiffs’ Complaint in this action is

             23        extended 45 days, up to and including January 19, 2010.

             24                IT IS SO ORDERED.

             25        Dated: December 1, 2009                               /s/ Gary S. Austin
             26        6i0kij                                              UNITED STATES MAGISTRATE JUDGE

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